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                           IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION



 OPAL’S LLC,

                        Plaintiff,

                                                        Civil Action 2:18-cv-709
        v.                                              Judge Sarah D. Morrison
                                                        Magistrate Judge Jolson
 TARGET CORPORATION, et al.,
                        Defendants.




                                                ORDER

        This case has been reported settled. Consequently, all pending deadlines in this case are STAYED.

A telephonic status conference will be held on August 1, 2019 at 10:30 a.m., unless the dismissal entry

is received prior to that time.

        IT IS SO ORDERED.



Date: June 27, 2019                                     /s/ Kimberly A. Jolson
                                                        KIMBERLY A. JOLSON
                                                        UNITED STATES MAGISTRATE JUDGE
